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                        EXHIBIT 6
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                            UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
                               CASE NO. 2:19-cv-01717


 _________________________________________
 IN RE:
 ALEX MORGAN, MEGAN RAPINOE, BECKY SAUERBRUNN, CARLI LLOYD, MORGAN BRIAN, JANE
 CAMPBELL, DANIELLE COLAPRICO, ABBY DAHLKEMPER, TIERNA DAVIDSON, CRYSTAL DUNN,
 JULIE ERTZ, ADRIANNA FRANCH, ASHLYN HARRIS, TOBIN HEATH, LINDSEY HORAN, ROSE
 LAVELLE, ALLIE LONG, MERRITT MATHIAS, JESSICA MCDONALD, SAMANTHA MEWIS, ALYSSA
 NAEHER, KELLEY O’HARA, CHRISTEN PRESS, MALLORY PUGH, CASEY SHORT, EMILY SONNETT,
 ANDI SULLIVAN AND MCCALL ZERBONI
               PLAINTIFFS/CLAIMANTS
        V.
 UNITED STATES SOCCER FEDERATION, INC.,
               DEFENDANT/RESPONDENT
 _________________________________________

              EXPERT ECONOMIC DAMAGES REPORT OF FINNIE B. COOK, PH.D.

                                 FEBRUARY 4TH, 2020
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                                          QUALIFICATIONS

 1.     My name is Finnie Bevin Cook. I am an Economist. I am employed as a Vice President

 by the firm Deiter Consulting Group, Inc. d/b/a Deiter, Stephens, Durham & Cook. I have over

 fifteen years of experience preparing opinions regarding economic damages in litigation

 matters, including, but not limited to: employment discrimination, wrongful termination,

 personal injury, wrongful death, medical malpractice, marital dissolution and commercial

 damage claims for lost profits. I have over ten years of testimony experience in depositions,

 trials, hearings and arbitration proceedings. I have previously testified in federal court cases in

 Florida, Texas and Maine, and in county court matters in Florida and Nevada.

 2.     Economic analysis of lost wages and benefits constitutes a significant part of my

 practice. I have prepared opinions of lost wages and benefits in numerous cases for a variety of

 occupations. I have prior experience preparing wage loss analyses for employees whose

 compensation is governed by a collective bargaining agreement. I have also previously testified

 in a class action matter in federal court.

 3.     I earned a Ph.D. in Business Administration with a major in Economics from the

 University of South Florida, a Master of Arts with a major in Economics from the University of

 South Florida and a Bachelor of Arts in Business Administration with a major in International

 Economics from the University of Florida (Summa Cum Laude). I hold a professional

 certification as a Medicare Set-Aside Consultant.

 4.     My research has been published in the Journal of Forensic Economics and I am also a

 reviewer for the journal. I maintain professional memberships with the National Association of

 Forensic Economists, American Economic Association, Southern Economic Association,

 International Health Economics Association and American Academy of Economic and Financial

 Experts.




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 5.       Please refer to Attachments 1 through 3 for review of my curriculum vitae, a listing of

 prior testimony for the past four years, and a listing of materials reviewed and relied upon.

 6.       Deiter Consulting Group, Inc. is being compensated at the rate of $325 per hour for my

 services, plus reimbursement of expenses. I have been assisted by my associates and staff at

 Deiter Consulting Group, Inc., working under my direction and control. The firm is being

 compensated at the rate of $325 per hour and $195 per hour, respectively, for their services.

 Neither Deiter Consulting Group, Inc. nor myself have any direct financial interest in the
 outcome of this matter.



                                       SCOPE OF ASSIGNMENT

 7.       I have been asked to estimate the backpay damages suffered by the plaintiff members

 of the Equal Pay Act (“EPA”) and Title VII classes in this action. Specifically, in the event that

 claimed violations of the Equal Pay Act and Title VII are found by the jury, I have determined

 the backpay damages suffered by the classes by comparing what each class member would

 have earned if she had been compensated at the same rate as a male professional soccer player

 under the U.S. Men’s National Team’s (“USMNT”) collective bargaining agreement (“CBA”) in

 effect during the class periods against what her actual earnings as a female professional soccer
 player on the U.S. Women’s National Team (“USWNT”) were during these periods.1

 8.       The economic damages I have estimated include lost backpay and prejudgment interest.

 I have also calculated liquidated damages for the EPA class. My damages estimates do not

 include any damages related to working conditions under Title VII; nor do they include any

 value for punitive damages, which I understand are additionally being sought by the Title VII

 class.


 1USSF_Morgan_000530 (2011-2018 MNT CBA); WNTPA_0004574 (2013-2016 WNT MOU);
 USSF_Morgan_000587 (2017-2021 WNT CBA).


                                                   2
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                                     SUMMARY OF OPINIONS

 9.     Based on the materials I have reviewed in this case, the rate of pay received by the

 female professional soccer players on the USWNT based on their CBA for their employment

 during the relevant time frame is lower than what would have been paid to male professional

 soccer players on the USMNT for comparable work under their CBA for their employment. The

 difference between what each USWNT player would have made under the USMNT’s CBA and

 the USWNT’s CBA is that player’s economic damage for backpay.

 10.    It is my opinion that the total economic damages for backpay to the EPA and Title VII

 classes are as follows:

        A. Backpay Damages, Count I: Equal Pay Act (The Fair Labor Standards Act of 1938, as

        amended by the Equal Pay Act, 29 U.S.C. §§ 206 et seq.)

 11.    It is my opinion that the backpay damages for the EPA class are $29,772,276 in the

 event of willful violation. Prejudgment interest on these damages totals $536,926. Thus, total

 economic damages for backpay inclusive of interest but exclusive of attorneys’ fees and costs,

 as of the anticipated May 5, 2020 trial date, are $30,309,202.

 12.    Backpay inclusive of liquidated damages for the EPA class totals $59,544,552 in the
 event of willful violation. Total damages for backpay inclusive of liquidated damages and

 interest but exclusive of attorneys’ fees and costs, as of the anticipated May 5, 2020 trial date,

 are $60,081,478.

 13.    In the event that the violation is found to be non-willful, the backpay damages for the

 EPA class are $27,985,640. Prejudgment interest on these damages totals $421,799. Thus,

 total economic damages for backpay inclusive of interest but exclusive of attorneys’ fees and

 costs, as of the anticipated May 5, 2020 trial date, are $28,407,439.




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 14.       If the violation is found to be non-willful, backpay inclusive of liquidated damages for the

 EPA class totals $55,971,280. Total damages for backpay inclusive of liquidated damages and

 interest but exclusive of attorneys’ fees and costs, as of the anticipated May 5, 2020 trial date,

 are $56,393,079. 2

          B. Backpay Damages, Count II: Title VII of the Civil Rights Act of 1964, as amended (42 U.S.C.

          §§ 2000e, et seq.)

 15.      It is my opinion that the backpay damages for the Title VII class are $63,822,242.

 Prejudgment interest on these damages totals $2,899,906. Thus, total backpay damages

 inclusive of interest but exclusive of attorneys’ fees and costs, as of the anticipated May 5, 2020

 trial date, are $66,722,148.

 16.      Schedules 1 through 18 of this report delineate the backpay damages by individual class

 member. Also attached as Appendices A through U are detailed calculations of the backpay

 damages for the class members.



                         CLASS MEMBERS AND TERM OF BACKPAY DAMAGES

       A. Count I: Equal Pay Act (The EPA Class)

 17.      Individual plaintiffs are required to opt-in to the EPA class. They are able to recover

 damages in the form of backpay for three years prior to the date they opt-in for a willful

 violation, or two years prior to the date they opt-in for a non-willful violation. The class

 members and their respective backpay start dates for the EPA class if the jury finds a willful

 violation are set forth in Table 1. If the jury finds a non-willful violation, the class members and

 their respective backpay start dates for the EPA class are set forth in Table 2.


 2As of the date of submission, not all eligible plaintiffs have joined the EPA class. In the event
 that one or more additional players join the action prior to trial, we reserve the right to update
 our opinions accordingly.


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                                       Table 1
                 EPA Class Members and Backpay Term: Willful Violation
           Name                          Date of Filing Backpay Start Date
           Brian, Morgan                   03/08/19          03/08/16
           Campbell, Jane                  03/08/19          03/08/16
           Colaprico, Danielle             03/08/19          03/08/16
           Cook, Alana                     12/30/19          12/30/16
           Dahlkemper, Abby                03/08/19          03/08/16
           Davidson, Tierna                03/08/19          03/08/16
           Dunn (Soubrier), Crystal        04/05/19          04/05/16
           Ertz (Johnston), Julie          10/07/19          10/07/16
           Fox, Emily                      01/28/20          01/28/17
           Franch, Adrianna                03/08/19          03/08/16
           Harris, Ashlyn                  03/08/19          03/08/16
           Hatch, Ashley                   01/21/20          01/21/17
           Heath, Tobin                    03/08/19          03/08/16
           Horan, Lindsey                  03/08/19          03/08/16
           Klingenberg, Meghan             12/16/19          12/16/16
           Krieger, Ali                    01/22/20          01/22/17
           Lavelle, Rose                   03/08/19          03/08/16
           Lloyd (Hollins), Carli          03/08/19          03/08/16
           Long, Allie                     03/08/19          03/08/16
           Mathias, Merritt                03/08/19          03/08/16
           McDonald, Jessica               04/05/19          04/05/16
           Mewis, Samantha                 03/08/19          03/08/16
           Morgan (Carrasco), Alex         03/08/19          03/08/16
           Naeher. Alyssa                  03/08/19          03/08/16
           O'Hara, Kelley                  03/08/19          03/08/16
           Pinto, Brianna                  01/28/20          01/28/17
           Press, Christen                 03/08/19          03/08/16
           Pugh, Mallory                   03/08/19          03/08/16
           Rapinoe, Megan                  03/08/19          03/08/16
           Rodriguez (Shilling), Amy       12/17/19          12/17/16
           Sauerbrunn, Becky               03/08/19          03/08/16
           Short, Casey                    03/08/19          03/08/16
           Smith, Taylor                   01/24/20          01/24/17
           Sonnett, Emily                  03/08/19          03/08/16
           Sullivan, Andi                  03/08/19          03/08/16
           Ubogagu, Chioma                 01/03/20          01/03/17
           Williams, Lynn                  01/31/20          01/31/17
           Zerboni, McCall                 03/11/19          03/11/16


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                                      Table 2
              EPA Class Members and Backpay Term: Non-willful Violation
           Name                         Date of Filing Backpay Start Date
           Brian, Morgan                  03/08/19         03/08/17
           Campbell, Jane                 03/08/19         03/08/17
           Colaprico, Danielle            03/08/19         03/08/17
           Cook, Alana                    12/30/19         12/30/17
           Dahlkemper, Abby               03/08/19         03/08/17
           Davidson, Tierna               03/08/19         03/08/17
           Dunn (Soubrier), Crystal       04/05/19         04/05/17
           Ertz (Johnston), Julie         10/07/19         10/07/17
           Fox, Emily                     01/28/20         01/28/18
           Franch, Adrianna               03/08/19         03/08/17
           Harris, Ashlyn                 03/08/19         03/08/17
           Hatch, Ashley                  01/21/20         01/21/18
           Heath, Tobin                   03/08/19         03/08/17
           Horan, Lindsey                 03/08/19         03/08/17
           Klingenberg, Meghan            12/16/19         12/16/17
           Krieger, Ali                   01/22/20         01/22/18
           Lavelle, Rose                  03/08/19         03/08/17
           Lloyd (Hollins), Carli         03/08/19         03/08/17
           Long, Allie                    03/08/19         03/08/17
           Mathias, Merritt               03/08/19         03/08/17
           McDonald, Jessica              04/05/19         04/05/17
           Mewis, Samantha                03/08/19         03/08/17
           Morgan (Carrasco), Alex        03/08/19         03/08/17
           Naeher. Alyssa                 03/08/19         03/08/17
           O'Hara, Kelley                 03/08/19         03/08/17
           Pinto, Brianna                 01/28/20         01/28/18
           Press, Christen                03/08/19         03/08/17
           Pugh, Mallory                  03/08/19         03/08/17
           Rapinoe, Megan                 03/08/19         03/08/17
           Rodriguez (Shilling), Amy      12/17/19         12/17/17
           Sauerbrunn, Becky              03/08/19         03/08/17
           Short, Casey                   03/08/19         03/08/17
           Smith, Taylor                  01/24/20         01/24/18
           Sonnett, Emily                 03/08/19          03/08/17
           Sullivan, Andi                 03/08/19          03/08/17
           Ubogagu, Chioma                01/03/20          01/03/18
           Williams, Lynn                 01/31/20          01/31/18
           Zerboni, McCall                03/11/19          03/11/17



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 18.      The backpay damage term is from the backpay start date identified in Tables 1 and 2

 through the May 5, 2020 trial date. At this time, I have only been able to compute backpay

 damages from the backpay start dates identified in Tables 1 and 2 through December 31, 2019.

 I will update my damages calculations through the date of trial if I am provided with sufficient

 updated information. 3

       B. Count II: Title VII of the Civil Rights Act of 1964 (The Title VII Damages Class)

 19.      The members of the Title VII class, determined from the records of the U.S. Soccer

 Federation (“USSF”), are as listed in Table 3.




 3 I reserve the right to update all backpay calculations pending the rosters and outcomes of
 additional USWNT games, including the USWNT Olympic Qualifier victories on January 28, 2020
 January 31, 2020 and February 3, 2020, games in the SheBelieves Cup scheduled for March
 2020, and any other games played prior to the trial date, as well as receipt of the USWNT
 payroll and benefit records for January 1, 2020 through May 5, 2020. I also reserve the right to
 calculate backpay damages for any additional players that subsequently opt in to the EPA class.


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                                          Table 3
                                 Title VII Class Members

                Barnes, Lauren                 Lloyd (Hollins), Carli
                Barnhart, Nicole               Long, Allie
                Bledsoe, Aubrey                Mace, Hailie
                Boxx, Shannon                  Mathias, Merritt
                Brian, Morgan                  McCaffrey, Stephanie
                Campbell, Jane                 McCaskill, Savannah
                Chalupny, Lori                 McDonald, Jessica
                Colaprico, Danielle            McGrady, Tegan
                Cook, Alana                    Menges, Emily
                Dahlkemper, Abby               Mewis, Samantha
                Davidson, Tierna               Morgan (Carrasco), Alex
                Dorsey, Imani                  Murphy, Casey
                Dunn (Soubrier), Crystal       Naeher, Alyssa
                Edmonds, Kristen               Ohai, Kealia
                Engen, Whitney                 O'Hara, Kelley
                Ertz (Johnston), Julie         O'Reilly, Heather
                Fox, Emily                     Oyster, Megan
                Franch, Adrianna               Pinto, Brianna
                Gilliland (Wright), Arin       Press, Christen
                Groom, Shea                    Pugh, Mallory
                Hamilton, Kristen              Purce, Margaret
                Hanson, Haley                  Rampone, Christie
                Harris, Ashlyn                 Rapinoe, Megan
                Hatch, Ashley                  Rodriguez (Shilling), Amy
                Heath, Tobin                   Sauerbrunn, Becky
                Hinkle, Jaelene                Short, Casey
                Holiday, Lauren                Smith, Abby
                Horan, Lindsey                 Smith, Sophia
                Howell, Jaelin                 Smith, Taylor
                Huerta, Sofia                  Solo, Hope
                Huster, Tori                   Sonnett, Emily
                Klingenberg, Meghan            Sullivan, Andi
                Krieger, Ali                   Ubogau, Chioma
                Lavelle, Rose                  Wambach, Abby
                Leroux, Sydney                 Williams, Lynn
                Lewandowski, Gina              Zerboni, McCall




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 20.      I have been informed by counsel that the backpay start date for all Title VII class

 members is April 6, 2014. Thus, the backpay damage term for the class is from April 6, 2014

 through the May 5, 2020 trial date. At this time, I have only computed backpay damages for

 Count II from April 6, 2014 through December 31, 2019 based on the data currently available to

 me. 4



             CALCULATION OF BACKPAY DAMAGES TO THE EPA AND TITLE VII CLASSES

 21.      The standard of comparison for determining the backpay damages to the female soccer

 players who comprise the EPA and Title VII classes is determining the amounts that they would

 have been compensated for their work playing soccer for the USWNT under the compensation

 terms provided to the male players for their work playing soccer for the USMNT and comparing

 those amounts against the amounts that they were actually paid.

 22.      To calculate the economic damage of backpay due to the class members, I have

 computed the amounts that the USWNT class members would have been paid based on the

 rate of compensation set forth in the USMNT CBA.

       A. Calculating Compensation to Class Members at the Rate and Terms of Compensation
          Applicable to the USMNT Players

 23.      The USMNT players’ rate of compensation during the applicable class periods was

 governed by a collective bargaining agreement dated November 20, 2011. I understand that

 although the 2011 USMNT CBA expired on December 31, 2018, USSF has continued to

 compensate the USMNT players at the same rates as in the expired contract. The compensation

 terms set forth in the USMNT CBA are outlined in detail in Exhibit A to the USMNT CBA. 5 Male

 players on the USMNT were paid to play soccer games and for attending camps before

 4   Ibid.
 5   USSF_Morgan_000530, at 000572-574.


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 friendlies (non-tournament games) and for playing World Cup Qualifier games. Additionally,

 players on the USMNT were eligible to receive bonus payment(s) based on their performance

 as a team. They were paid more for a draw (tie) or win as compared to a loss, and generally

 more if the win or draw was against a higher ranked opponent. They were also eligible to

 receive bonuses for placing in tournaments. Last, USMNT players were also eligible to receive

 bonuses for World Cup qualification, for making the World Cup roster, for points in the first

 round of the World Cup, and for advancement and place achievement in the World Cup.

 24.    My backpay damages methodology assigns pay for USWNT friendlies based on the rate

 of compensation for USMNT friendlies, assigns pay for the tournaments that the USWNT

 participates in based on the rate of compensation for tournaments (excluding the World Cup)

 that the USMNT participates in, and assigns pay for the Women’s World Cup based on the rate

 of compensation that the USMNT would have received for the Men’s World Cup. The following

 describes the specific calculation steps I employed in my damage calculation for each class

 member:

            1. Compensation at USMNT Rate for USWNT Friendlies

 25.    The methodology assumes that a USWNT class member on the game roster for a

 friendly game should have been compensated, depending on the game outcome and

 Fédération Internationale de Football Association (FIFA) ranking of the opponent, for that game

 based on the rate of compensation paid under the USMNT pay for a friendly game with a

 comparable outcome and FIFA ranking. 6 ,7



 6Berhalter Exhibit 32, USSF_Morgan_000530 at 000572-000574.
 7The FIFA rankings of the USWNT opponents were provided by USSF in a spreadsheet Bates
 numbered USSF_Morgan_055539. We verified the FIFA rankings on FIFA’s website
 (www.fifa.com) and noted that the rankings provided by USSF for the last two games in 2019
 were outdated. Sweden’s FIFA ranking at the time of the 11/7/2019 game was 5 (not 6) and
 Costa Rica’s ranking at the time of the 11/10/2019 game was 38 (not 37).


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 26.    Games the USWNT played as part of the Victory Tours after they won the World Cup in

 2015 and 2019, which are compensated at a higher rate than friendlies in the USWNT CBA,

 were treated as friendlies for purposes of assigning compensation under the rates of the

 USMNT CBA.

 27.    For purposes of assigning compensation, any match in which Canada was the opponent

 was compensated as a FIFA Ranking 1-10 regardless of Canada’s actual FIFA ranking. Although

 the USMNT CBA provides for compensation in games against Mexico in the same amount as a

 FIFA 1-10 regardless of Mexico’s actual FIFA ranking, for purposes of assigning compensation to

 the USWNT class members, Mexico is compensated based on Mexico’s actual FIFA ranking on

 the date of the match. While Mexico is the USMNT’s traditional North American rival, Canada is

 the USWNT’s traditional North American rival. This is reflected in the fact that their respective

 CBAs state that friendlies against Mexico and Canada will be compensated at the rate for Tier 1

 friendlies regardless of actual FIFA ranking.8

            2. Compensation at USMNT Rate for USWNT Tournaments (Other Than World Cup)

 28.    Both the USMNT and USWNT play in several tournaments in addition to the World Cups

 that occur every four years. For the USWNT, these tournaments include the Algarve Cup,

 SheBelieves Cup, International Tournament of Brasilia, Tournament of Nations, CONCACAF

 Olympic Qualifying Tournament, and Olympic Games. For the USMNT, these tournaments

 include the Gold Cup, Copa America and Confederations Cup. The USMNT CBA specifies

 compensation rates for games and placement bonuses for the Gold Cup, the Copa America, and

 the Confederations Cup.

 29.    To determine an appropriate rate of compensation for tournaments in which the

 USWNT participates, I have calculated averages of win/loss/tie compensation rates for each

 82011-2018 MNT CBA, USSF_Morgan_000530 at 000565; 2017-2021 WNT CBA,
 USSF_Morgan_000587 at 000642.


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 category of FIFA opponent ranking and of the placement bonuses for the Gold Cup, Copa

 America and Confederations Cup tournaments in which the USMNT participates. The

 methodology assumes that a USWNT class member on the game roster for an Algarve Cup,

 SheBelieves Cup, International Tournament of Brasilia, Tournament of Nations, CONCACAF

 Olympic Qualifying Tournament, and/or Olympic Games tournament game is compensated at

 the average win/loss/tie tournament rate for the USMNT, and that the USWNT class member

 receives placement bonuses at the average tournament placement bonus rate that would have

 been paid to members of the USMNT for tournament placement.

 30.      This methodology is in keeping with the USMNT CBA’s provision in Section XV of Exhibit

 A, that: “If the Team plays in any tournaments for which compensation is not provided in this

 Agreement, the Players Association and Federation shall negotiate in good faith to agree upon

 player compensation for the additional tournament(s) and its matches. In such event, the

 Players Association's and Federation's objective will be to adopt a compensation schedule for

 the additional tournament(s) and its matches that will pay Players at a level consistent with the

 compensation schedules for other games and tournaments of varying stature and importance,

 based on the stature and importance of the additional tournament(s).” 9 This provision suggests

 that USWNT tournaments compensated under the terms of the USMNT CBA would be

 compensated at different rates based on their relative stature and importance in comparison to

 the stature and importance of the different tournaments specified in the USMNT CBA.

 However, rather than making judgments about the stature and importance of the various

 USWNT’s tournaments, it is reasonable, in my expert opinion, for purposes of calculating

 backpay damages, to apply an average of the compensation rates the USMNT receives for

 tournaments to estimate what the members of the USWNT would have earned for

 tournaments using the USMNT CBA’s higher rate of compensation.


 9   MNT CBA, USSF_Morgan_000530 at 00571.


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 31.      While there is an Olympic category for men’s soccer, it is an age-restricted tournament

 for which the Senior USMNT is currently ineligible to compete as a team so the USMNT CBA

 does not specify what the specific compensation rate would be for playing in the Olympics if

 the eligibility rules were changed and the age restrictions were eliminated. 10 However, as
 noted previously, the UMNT CBA contains a provision which does state that if the USMNT were

 to participate in any tournaments for which the rate of compensation is not specified , the

 USMNT and USSF would negotiate a rate of compensation consistent with the other

 tournaments, such as the Gold Cup, Copa America, and the Confederations Cup, based on the

 stature and importance of the additional tournament. Tom King, USSF’s 30(b)(6) designee on

 the application of the USMNT CBA, testified that the Olympics are a tournament and that if the

 USMNT became eligible to play in the Olympics, Section XV of the USMNT CBA would apply. 11

 32.      For these reasons, in my methodology, I have treated the Olympics as a tournament in

 calculating compensation the USWNT would receive under the USMNT’s CBA. The

 methodology therefore assumes that USWNT class members on the rosters for Olympic

 matches should have been compensated under the average tournament compensation rate

 that I have calculated under the USMNT CBA.

              3. Compensation at USMNT Rate for Women’s World Cup Qualifiers and Games

 33.       My backpay damages methodology assumes that USWNT class members on the roster

 for the first three World Cup Qualifier games should have been compensated, depending on

 the outcome of the game, based on the Round 1 World Cup Qualifier win/loss/tie game

 payment amounts under the USMNT CBA. It further assumes that USWNT class members on

 the roster for the World Cup Qualifier Semi-Final and/or Final games should have been

 compensated, depending on the outcome of the game, based on the Round 2 World Cup


 10   King (30(b)(6)) Dep. Tr. at 50:20-51:3; USSF_Morgan_050325.
 11   King (30(b)(6)) Dep. Tr. at 53:18-54-2.


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 Qualifier game win/loss/tie payment amounts specified in the USMNT CBA. My methodology

 also assumes that World Cup qualification bonuses should have been paid to the class members

 on the USWNT based on the World Cup qualification and roster bonuses for the USMNT.

 34.    My methodology further assumes that USWNT class members should have been

 compensated for World Cup per game payments, roster bonuses, points bonuses, and round

 advancement bonuses based on the amounts specified under the USMNT CBA. For backpay

 damages estimation purposes, the FIFA Women’s World Cup Group Stage games are

 considered comparable to the FIFA World Cup First Round games for the USMNT and the FIFA

 Women’s World Cup Round of 16 is considered comparable to the FIFA World Cup Second

 Round for the USMNT. 12 Compensation for the FIFA Women’s World Cup Quarterfinals, Semi-

 Finals and Finals are based on the compensation rates set forth for the FIFA World Cup

 Quarterfinals, Semi-Finals and Finals payable under the USMNT CBA.

 35.    The methodology further assumes that USWNT Class members who attend camp for

 friendlies or World Cup Qualifiers who do not make the final game roster should have been

 compensated based on the friendly and World Cup Qualifier camp pay rates for the members of

 the USMNT pursuant to the terms of the USMNT CBA.

            4. Summary of Calculation

 36.    Calculating the class’ compensation utilizing the assumptions outlined above, assuming

 the jury finds a willful violation, the EPA class would have earned total combined wages of

 $48,237,328 for the backpay damage period beginning with the dates reported in Table 1

 through December 31, 2019. Of this total, $15,643,995 relates to pay for game play and

 $32,593,333 relates to tournament roster, qualification and placement bonuses, as well as first

 round World Cup and Olympics point bonuses.

 12Although the USMNT CBA refers to first round and second round World Cup games, FIFA
 identifies these men’s World Cup games as “Group Phase” and “Knockout Phase: Round of 16”.


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 37.    Assuming the jury finds a non-willful violation, the EPA class would have earned total

 combined wages of $44,557,028 assuming compensation as outlined above for the backpay

 damage period beginning with the dates reported in Table 2 through December 31, 2019. Of

 this total, $12,343,695 relates to pay for game play and $32,213,333 relates to tournament

 roster, qualification and placement bonuses, as well as first round World Cup and Olympics

 point bonuses.

 38.    Had the Title VII class been compensated utilizing the assumptions outlined above, the
 class would have earned total combined wages of $91,782,773 from April 6, 2014 through

 December 31, 2019. Of this total, $27,842,606 relates to pay for game play and $63,940,167

 relates to tournament roster, qualification and placement bonuses, as well as first round World

 Cup and Olympics point bonuses.

 39.    The compensation calculations for each class member based on the methodology

 outlined above are reported in the attached Schedules 1, 4 and 7.

 40.    It is my opinion that the calculations of backpay damages utilizing the methodology

 outlined above meet the test of reasonable economic certainty.

            5. Alternative Calculation

 41.    Counsel has informed me that USSF has taken the position in this litigation that there is

 a difference between the tournaments in which the USMNT plays and the tournaments in

 which the USWNT plays because FIFA has not recognized them as official tournaments. 13

 Therefore, as a test of reasonableness of my damage analysis assumptions, I have prepared an



 13See Berhalter (30(b)(6)) Dep. Tr. at 254:2-257:5. Mr. Berhalter testified that the difference is
 that the USMNT’s tournaments are “recognized by FIFA on the FIFA calendar.” Id. at 255:4-9.
 He also testified that, as to the SheBelieves Cup, which USSF hosts, that he was “not sure [USSF]
 would need to [apply for FIFA recognition] because [it was] played on a FIFA window.” Id. at
 256:22-257:5.


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 alternative calculation that assigns compensation for all USWNT tournaments, except for the

 World Cup, based on the compensation rate for friendly games as outlined in the USMNT CBA.

 42.    For this alternative calculation, the methodology for friendly games, World Cup

 qualifiers, and the World Cup are the same as described above. For tournament games in the

 Algarve Cup, SheBelieves Cup, International Tournament of Brasilia, Tournament of Nations,

 CONCACAF Olympic Qualifying Tournament, and Olympic Games, the pay rate for a USMNT

 friendly is applied, depending on the game outcome and opponent’s FIFA ranking. No
 placement bonuses are applied for USWNT’s performance in these tournaments.

 43.    Calculating compensation utilizing the assumptions outlined above and assuming the

 jury finds a willful violation, the EPA class would have earned total combined wages of

 $46,982,750 for the backpay damage period beginning with the dates reported in Table 1

 through December 31, 2019. Of this total, $16,432,750 relates to pay for game play and

 $30,550,000 relates to World Cup tournament roster, qualification, and placement bonuses, as

 well as first round World Cup point bonuses.

 44.    Assuming the jury finds a non-willful violation and based on the above compensation

 terms, the EPA class would have earned total combined wages of $43,483,875 for the backpay

 damage period beginning with the dates reported in Table 2 through December 31, 2019. Of

 this total, $12,933,875 relates to pay for game play and $30,550,000 relates to World Cup

 tournament roster, qualification, and placement bonuses, as well as first round World Cup

 point bonuses.

 45.    Had the Title VII class been compensated based on the assumptions outlined above,

 they would have earned total combined wages of $88,625,375 from April 6, 2014 through

 December 31, 2019. Of this total, $28,462,875 relates to pay for game play and $60,162,500

 relates to World Cup tournament roster, qualification, and placement bonuses, as well as first

 round World Cup point bonuses.


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 46.      For each class member, the compensation based on the assumptions outlined above for

 this alternative calculation is reported in the attached Schedules 10, 13 and 16.

       B. The USWNT Class Members’ Actual Compensation

 47.      The USWNT class members’ compensation during the backpay time frames has been

 governed by two agreements: the Memorandum of Understanding (MOA) dated March 19,

 2013 and the CBA entered into on April 4, 2017. There are two types of players for purposes of

 the WNT: Contracted and Non-Contracted. Contracted players are paid a base salary which
 covers their participation, before bonuses, in all USWNT games they were asked to participate

 in each year. Non-contracted players received $500 per week as “Floaters” based on the 2013

 USWNT Memorandum of Understanding and currently receive an appearance fee per game

 based on the 2017 USWNT CBA. Both contracted and non-contracted players are eligible to

 receive bonuses for winning friendly games and, as of the 2017 CBA, for a draw in a friendly

 game depending on the FIFA ranking of the opponent. They are also eligible to receive bonuses

 for World Cup and Olympic qualification, for making the World Cup and/or Olympic roster, for

 placement in the World Cup and/or Olympics and for playing games in a World Cup and/or

 Olympic victory tour. The 2013 MOA provides for no bonuses for placement in any other

 tournaments. However, the 2017 USWNT CBA provides for a $5,000 bonus for placing first in

 the SheBelieves Tournament and the Four Nations Tournament.

 48.      The terms of the 2013 USWNT MOA and 2017 USWNT CBA provide for certain benefits

 for contracted players in certain situations including: severance, injury protection, maternity

 and adoption leave, insurance (dental and vision), a $1,500 allowance to cover the taxable cost

 of health insurance provided by the United States Olympic Committee (USOC) and a childcare




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 allowance. 14,15 For class members who received such benefits, the benefit amounts are
 included in my analysis of their actual compensation received.

 49.    Because the USMNT CBA does not provide for compensation to a player who does not

 appear on a roster, is injured, or on parental leave, the methodology described above for

 calculating their compensation under the USMNT CBA does not provide for any compensation

 to the USWNT class member in these situations. As a result, there is no need to include any

 additional offset for these benefits, as they are already accounted for in the calculations using

 my methodology.

 50.    I have utilized the payroll records and USSF-provided employer cost of benefits

 information for the class members to compute each claimant’s actual wages and benefits over

 the relevant damage term. 16 The EPA class actually earned total combined wages and benefits

 of $18,341,552 for the willful violation backpay damage period beginning with the dates

 reported in Table 1 through December 31, 2019. Of this total, $11,901,544 relates to salary,

 float pay, game roster appearance fees, bonuses for games and benefits and $6,440,008 relates

 to tournament roster, qualification and placement bonuses, as well as World Cup and Olympic

 victory tour payments.

 51.    The EPA class actually earned total combined wages and benefits of $16,468,139 for the

 non-willful violation backpay damage period beginning with the dates reported in Table 2


 14 USSF also sponsors a 401(k) plan, but does not contribute nor match any employee
 contributions. In my opinion, no further adjustment in the compensation analysis is required for
 such a plan.
 15 For purposes of my analysis, severance, injury protection, maternity and adoption leave pay

 are included in wage earnings. Dental and vision insurances, childcare allowance and the
 $1,500 allowance provided by USSF to cover the taxable cost of health insurance provided by
 the USOC are included in benefits.
 16 Excluding National Women’s Soccer League (NWSL) earnings, which I do not believe are

 proper to include in an estimate of backpay damages for the reasons I describe elsewhere in
 this report.


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 through December 31, 2019. Of this total, $10,208,131 relates to salary, float pay, game roster

 appearance fees, bonuses for games and benefits and $6,260,008 relates to tournament roster,

 qualification and placement bonuses, as well as World Cup and Olympic victory tour payments.

 52.       The Title VII class earned total combined wages and benefits of $27,733,531 from April

 6, 2014 through December 31, 2019. Of this total, $16,764,703 relates to salary, float pay,

 game roster appearance fees, bonuses for games and benefits and $10,968,828 relates to

 tournament roster, qualification and placement bonuses, as well as World Cup and Olympic
 victory tour payments.

 53.       The actual wages, benefits and bonuses by class member are reported in the attached

 Schedules 1, 4, 7, 10, 13 and 16.17

       C. Commercial Appearance Fees

 54.       The USMNT CBA provides for a $3,000 player appearance fee through 2014, increasing

 to $3,750 in 2015 and thereafter.18 The 2013 USWNT MOU provides for a $3,000 appearance

 fee. 19 The 2017 USWNT CBA provides for a $4,000 appearance fee.20

 55.       I have been provided information detailing CBA appearances by class member. I have

 computed the difference in fees actually received as compared to what should have been paid

 based on the USMNT CBA. The analyses of player commercial appearance fees, for the EPA

 Class (willful and non-willful damage period) and for the Title VII Class, are reported in the

 attached Appendices P, Q and R. A positive value represents a loss to a class member while a

 negative value represents an offset to the other backpay losses. These values are incorporated



 17   The values reported in paragraphs 50-52 exclude commercial appearance fees and the CBA
 signing bonuses which are accounted for in paragraphs 54-55 and 61-65, respectively.
 18 2011-2018 MNT CBA, USSF_Morgan_000530 at 000573.
 19 2013-2016 WNT MOU, WNTPA_00004575 at 00004578.
 20 2017-2021 WNT CBA, USSF_Morgan_000587 at 000628.



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 in our total backpay damages calculations to the particular class member as well as the totals to

 each class.

       D. Name, Image, and Likeness Rights

 56.      Both the USMNT CBA and the USWNT CBA have provisions relating to the use of the

 players’ likenesses for sponsorship and licensing purposes. The USMNT players and USWNT

 players have conveyed certain intellectual property rights to their likenesses to their respective

 unions and then to USSF as described in the collective bargaining agreements. 21 These
 provisions relate to intellectual property rights separate from the national team players’ job

 responsibilities and the compensation received for national team play. My methodology

 assumes that any USSF payments for these intellectual property rights — which are made by

 USSF to the union as opposed to individual players — are made pursuant to a commercial

 arrangement with the union independent of the athlete’s compensation for his or her

 employment on the USMNT or USWNT and thus are not included in any calculation of backpay

 damages. The USWNT CBA places no restriction on how the USWNT union can use any

 payment that it receives from the USSF for name, image and likeness licensing rights.

 57.      According to the deposition testimony of Mr. King, who was USSF’s 30 (b) (6) designee

 on the terms and application of the CBAs, the list of payments in Article 21.B of the USWNT

 CBA, “Individual Payments,” are payments the players are entitled to individually either for

 working for the women’s national team or, in the case where they’re on a National Women’s

 Soccer League (“NWSL”) team, for working on an NWSL team. 22 Article 21.B of the USWNT CBA

 does not include any reference to any payment to the union for the use of name, image or

 likeness rights. Mr. King further testified that the USSF receives no information on how the


 21 See USWNT CBA, Article 15, “Use of Player Likenesses,” USSF_Morgan_000587 at 000618-
 000624; Uniform Player Agreement Men’s National Team, Paragraph 6, “Names, Pictures,
 Likeness,” USSF_Morgan_000530 at 000550-000555.
 22 Tom King 30(b)(6) Deposition Transcript, at 20-21.



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 union uses any CBA payment that it receives for licensing rights.23 Because any such payments
 are paid by USSF to the union and not the individual players, there is no basis for offsetting any

 amount from an individual class member’s backpay damages.

       E. Per Diems

 58.      The USMNT CBA provides for per diem payments in the amount of $50 per day for

 domestic venues and $60 per day for international venues for 2014, increasing to $62.50 for

 domestic venues and $75 for international venues for 2015 and thereafter.

 59.      The USWNT 2013 MOA provides for per diem payments in the amount of $50 per day

 for domestic venues and $60 per day for international venues. It also identifies per diem

 amounts as “Equal to MNT Per Diems.” The USWNT 2017 CBA provides for per diems of $62.50

 for domestic venues and $75 for international venues for 2015 and thereafter. According to

 the deposition of Rebecca Roux, although the USWNT per diem payments were not increased

 to $62.50 and $75, respectively, USSF has since paid the differential such that the per diem

 amounts over the backpay damage time frame are equal for the USMNT and USWNT. 24

 60.      Because the per diem payments were equal for both the male and female employees,

 there is no reason to adjust for them in the backpay damage calculations.

       F. CBA Signing Bonuses

 61.      Both the USWNT’s and USMNT’s respective CBAs provide for payments upon execution

 of each agreement. The 2017-2021 USWNT CBA provides for a $230,000 signing bonus, and

 notes that this amount “shall be paid by the Federation directly to the Players to whom such

 payments are due.” 25 Likewise, the 2011-2018 MNT CBA provides for a guaranteed payment of



 23 Tom King 30(b)(6) Deposition Transcript, at 24-25.
 24 Deposition of Rebecca Roux dated December 19, 2019 pp. 27-29.
 25 2017-2021 WNT CBA, USSF_Morgan_000587, at 000635, 000642.



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 “425,000 to the Players Association Bank Account upon the signing of the Collective Bargaining

 Agreement” and another guaranteed payment of $531,250 on January 1, 2015. 26

 62.       We have been provided information in USSF’s payroll data indicating that this signing

 bonus for ratification of the 2017 USWNT CBA was paid directly to 23 class members in the

 amounts of $10,000 each on August 15, 2017.

 63.      Although the USMNT CBA provided for a higher guaranteed payment of $531,250 upon

 the automatic renewal of the USMNT CBA on January 1, 2015, the record indicates this

 payment went to the USMNT’s Players’ Association, not to individual players directly. 27

 64.      Therefore, we credited the $10,000 signing bonuses received by the USWNT class

 members against their respective individual, and total, backpay damages calculations.

 65.      The CBA signing bonuses are reported by class member in the attached Appendices S, T

 and U.

       G. NWSL Compensation

 66.      In my opinion, no adjustment should be made in the backpay damages calculation for

 the compensation paid to some members of the class by USSF for playing on teams in the

 National Women’s Soccer League (“NWSL”). A USWNT player’s participation as a player for an

 NWSL team is a job separate and apart from her job as a member of the USWNT soccer team,

 as illustrated by the fact that not all USWNT members are paid by USSF to play on an NWSL

 team and most NWSL players are not USWNT members. Participation on an NWSL team

 requires a class member to play in additional games and attend additional practices. Other

 NWSL players who are not part of the USWNT receive payment for their participation on their

 respective teams by their respective clubs. Some USWNT members have exercised their rights


 26   2011-2018 MNT CBA, USSF_Morgan_000530, at 000569, 00572.
 27   Tom King 30(b)(6) Transcript, at 61-62.


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 under the CBA to play for other professional club teams during the period of the CBA in leagues

 other than the NWSL, further demonstrating that NWSL participation is a separate job from

 playing on the USWNT.

 67.    So long as he fulfills his duties as outlined in the 2011-2018 Uniform Player Agreement,

 there is nothing in the USMNT CBA that precludes a male player from participating in other

 soccer employment. In fact, USMNT players play on other club teams in other leagues including

 in the U.S. for Major League Soccer (MLS) as well as in leagues abroad, receiving compensation
 for their participation.



                              BACKPAY DAMAGES TO THE CLASSES

 68.    Backpay is determined by subtracting the Plaintiffs’ actual compensation from their

 calculated compensation based on the USMNT CBA for the different backpay damage terms.

 69.    Based on the methodology and assumptions outlined in this report, it is my opinion that

 the backpay damages for the EPA class total $29,772,276 for the willful violation damage period

 beginning with the dates reported in Table 1 through December 31, 2019. The backpay

 damages for the EPA class total $27,985,640 for the non-willful violation damage period
 beginning with the dates reported in Table 2 through December 31, 2019. Backpay damages

 for the Title VII class total $63,822,242 from April 6, 2014 through December 31, 2019.

 70.    The conclusions regarding backpay damages reported above were determined in

 accordance with generally accepted methodologies for determining backpay damages and

 meet the test of reasonable economic certainty. The backpay damages calculations are

 reported for each class member in the attached Schedules 1, 4 and 7.

 71.    Based on the assumptions outlined for the alternative calculation, the backpay damages

 for the EPA class total $28,517,698 for the willful violation damage period beginning with the



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 dates reported in Table 1 through December 31, 2019. The backpay damages for the EPA class

 total $26,912,486 for the non-willful violation damage period beginning with the dates reported

 in Table 2 through December 31, 2019. Backpay damages for the Title VII class totals

 $60,664,844 from April 6, 2014 through December 31, 2019. The backpay damages calculation

 are reported by class member in the attached Schedules 10, 13 and 16.

 72.       According to my calculations, a small number of class members are not currently owed

 backpay damages for the relevant period either because they were NCAA eligible and chose not
 to be compensated during their eligibility period, because they left the team shortly after the

 class period for backpay damages began, because they just recently joined the team and have

 not yet experienced backpay damages, or because, in one case, the player chose to play for

 another country at the senior level. Such class members were deprived of the opportunity to

 earn compensation at the same rate as members of the USMNT during the period I studied and

 also may have suffered other injuries if the classes prove the existence of the various forms of

 working conditions discrimination asserted by the classes. These class members, for whom I do

 not find back pay damages under one or more of the class periods, fall into three categories

 described below.

      i.   First, several class members did not accept compensation for their participation in

           camps or games for the USWNT because they were maintaining their eligibility to play

           NCAA soccer for their schools. These individuals would not have been compensated for

           their play regardless of which CBA applied. I have accounted for this in calculating

           damages for all class members who forewent compensation for USWNT play to comply

           with NCAA rules. 28 For a few class members, the decision to maintain their NCAA
           eligibility caused them not to have any backpay damages during the period I

 28In addition to the USWNT players named above, adjustments were made in the calculations
 for Morgan Brian, Jane Campbell, Tierna Davidson, Ashley Hatch, Rose Lavelle, Samantha
 Mewis, Emily Sonnett, Andi Sullivan, and Mallory Pugh.


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         studied. These include Emily Fox, Hallie Mace, Tegan McGrady, Brianna Pinto and

         Sophia Smith. Hallie Mace recently participated in the USWNT’s December

         Identification camp and received $2,500 from USSF for that camp. The USMNT does not

         have a similar camp. Ms. Mace would have been owed far more than $2,500 in backpay

         for her play in three friendlies and the five World Cup Qualifiers in 2018 had she been

         able to receive it. As noted above, I have reserved the right to revise damages

         calculations based on play between January 1, 2020 and the trial start date of May 5,

         2020, which may impact the backpay damages for some of these class members.

   ii.   Second, three class members who were long-time USWNT players were very near the

         end of their careers when the class periods began and would likely be owed backpay

         damages but for the statutes of limitations that prevent them from seeking damages for

         an earlier time period. Two of these players, Meghan Klingenberg and Amy Rodriguez,

         are owed backpay of approximately $1.5 million and $1.3 million, respectively, for their

         Title VII claims for which there is a longer damages period, but do not have backpay

         damages during the period for willful or non-willful EPA violations. The third player,

         Nicole Barnhart, had played for the USWNT since 2004, and was on the roster for

         Olympic Games, World Cups, World Cup qualifiers, and many friendlies. However, the

         statute of limitations has run on any backpay damages owed to her for those

         tournaments and games.

  iii.   Third, three class members have only just recently joined the team and have not yet

         incurred backpay damages, although they will do so going forward in the absence of an

         adjustment of the wage rates and benefits for Plaintiffs and the class to the level these

         Plaintiffs and the class would be enjoying but for the USSF’s discriminatory practices.

         They have participated in a few camps, but have not yet played in any games for the

         USWNT. These three players are Aubrey Bledsoe, Kristen Edmonds and Casey Murphy.



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        Ms. Edmonds participated in camp for two games in 2016 from November 5 until

        November 14. Under the USWNT’s MOU in effect at the time, she should have been

        compensated at a rate of $500 per week, totaling (at most) $1,000. Under the USMNT’s

        CBA, she would have been compensated at a rate of $1,875 per camp, totaling

        $3,750. However, USSF’s payroll records show that Ms. Edmonds received $785.71 in

        2016, and $3,000 in retroactive pay in 2017. It is unclear why she received these

        payments; but, because they are attributed to her in USSF’s payroll records, I cannot

        determine, at this time, that she is currently owed backpay damages. Ms. Bledsoe
        participated in camps for two games for the USWNT in 2019. She received payments of

        $1,500 for the first camp and $2,500 for the second camp pursuant to the USWNT’s

        CBA, totaling $4,000. She would have received $1,875 for each camp under the

        USMNT’s CBA, totaling $3,750. Ms. Murphy participated in camps for two games in

        2018, receiving a total payment of $4,000, and participated in the December 2019

        Identification Camp for which she received $2,500. She would have received $1,875 for

        each of the 2018 camps under the USMNT’s CBA. As noted above, I have reserved the

        right to revise damages calculations based on play between January 1, 2020 and the trial

        start date of May 5, 2020, which may impact the backpay damages for these class

        members. As noted above, if these class members play in future games and the pay

        disparity is not eliminated, they will likely incur backpay damages.

  iv.   Fourth, Chioma Ubogagu participated in camps for two games for the USWNT in

        2017. She received payments of $1,500 for the first camp and $2,500 for the second

        camp pursuant to the USWNT’s CBA, totaling $4,000. She would have received $1,875

        for each camp under the USMNT’s CBA, totaling $3,750. She never appeared on a game

        roster for the Senior USWNT and has chosen to play for England at the senior level.




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 The class members identified in paragraph 72 have been excluded from our backpay analyses

 and thus their compensation is not included in any of the values reported in this report.


                                     LIQUIDATED DAMAGES

 73.    The Complaint identifies a claim for liquidated damages to the EPA class. I have been

 provided information by counsel that liquidated damages are calculated as an amount equal to

 the backpay loss; thus, total liquidated damages (excluding prejudgment interest) would be

 double the backpay loss.

 74.    Based on the methodology and assumptions outlined in this report, liquidated damages

 for the EPA class total $59,544,552 for the willful violation damage period beginning with the

 dates reported in Table 1 through December 31, 2019. The liquidated damages for the EPA

 class total $55,971,280 for the non-willful violation damage period beginning with the dates

 reported in Table 2 through December 31, 2019.

 75.    Based on the assumptions outlined for the alternative calculation, the liquidated

 damages for the EPA class total $57,035,397 for the willful violation damage period beginning

 with the dates reported in Table 1 through December 31, 2019. The liquidated damages for the

 EPA class total $53,824,973 for the non-willful violation damage period beginning with the

 dates reported in Table 2 through December 31, 2019.



                                    PREJUDGMENT INTEREST

 76.    Prejudgment interest on backpay damages is computed using the average 1-year

 constant maturity Treasury bill rates for the term of the damage. The average rates have been

 computed quarterly. Prejudgment interest on backpay losses has been computed by class




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 member on a by paycheck basis. Detailed calculations of the prejudgment interest are reported

 in the attached Appendices F, G, H, M, N and O. The applicable rates are reported in Table 4.




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                                     Table 4
                             Prejudgment Interest Rates

                             Year               Annual Rate
                    04/01/2014 - 06/30/2014       0.10%
                    07/01/2014 - 09/30/2014       0.11%
                    10/01/2014 - 12/31/2014       0.15%

                    01/01/2015 - 12/31/2015        0.23%
                    04/01/2015 - 06/30/2015        0.25%
                    07/01/2015 - 09/30/2015        0.35%
                    10/01/2015 - 12/31/2015        0.47%

                    01/01/2016 - 03/31/2016        0.58%
                    04/01/2016 - 06/30/2016        0.57%
                    07/01/2016 - 09/30/2016        0.56%
                    10/01/2016 - 12/31/2016        0.76%

                    01/01/2017 - 03/31/2017        0.89%
                    04/01/2017 - 06/30/2017        1.13%
                    07/01/2017 - 09/30/2017        1.24%
                    10/01/2017 - 12/31/2017        1.55%

                    01/01/2018 - 03/31/2018        1.94%
                    04/01/2018 - 06/30/2018        2.25%
                    07/01/2018 - 09/30/2018        2.46%
                    10/01/2018 - 12/31/2018        2.67%

                    01/01/2019 - 03/31/2019        2.54%
                    04/01/2019 - 06/30/2019        2.26%
                    07/01/2019 - 09/30/2019        1.85%
                    10/01/2019 - 12/31/2019        1.58%

                    01/01/2020 - 05/6/2020         1.54%




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 77.    Prejudgment interest on the backpay for the EPA class totals $536,926 for the willful

 violation period beginning with the dates reported in Table 1 through May 5, 2020.

 Prejudgment interest on the backpay for the EPA class totals $421,798 for the non-willful

 violation period beginning with the dates reported in Table 2 through May 5, 2020.

 Prejudgment interest on the backpay for the Title VII class totals $2,899,906 from April 6, 2014

 through May 5, 2020. The summary of the prejudgment interest damages is reported by class

 member in the attached Schedules 2, 5 and 8.

 78.    For the alternative calculation, prejudgment interest on the backpay for the EPA class

 totals $484,609 for the willful violation period beginning with the dates reported in Table 1

 through May 5, 2020. Prejudgment interest on the backpay for the EPA class totals $381,315

 for the non-willful violation period beginning with the dates reported in Table 2 through May 5,

 2020. Prejudgment interest on the backpay for the Title VII class totals $2,719,294 from April 6,

 2014 through May 5, 2020. The summary of the prejudgment interest damages is reported by

 class member in the attached Schedules 11, 14 and 17.



                           TOTAL BACKPAY DAMAGES TO THE CLASSES

 79.    The total backpay damages inclusive of prejudgment interest for the EPA class and Title
 VII class are reported in Table 5. The backpay damages and prejudgment interest by class

 member are reported in the attached Schedules 3, 6, 9, 12, 15 and 18.




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                                          Table 5
                      Backpay Damages inclusive of Prejudgment Interest


                   Class / Count                                Total

                   EPA Class, Willful Violation
                   Backpay Losses                             $29,772,276
                   Prejudgment Interest                           536,926
                   Total                                      $30,309,202

                   EPA Class, Non-Willful Violation
                   Backpay Losses                             $27,985,640
                   Prejudgment Interest                           421,799
                   Total                                      $28,407,439

                   Title VII Class
                   Backpay Losses                             $63,822,242
                   Prejudgment Interest                         2,899,906
                   Total                                      $66,722,148




 80.    The backpay damages inclusive of liquidated damages and prejudgment interest for the

 EPA class are reported in Table 6.




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                                           Table 6
                                      Backpay Damages
                 inclusive of Liquidated Damages and Prejudgment Interest


                 Class / Count                                    Total

                 EPA Class, Willful Violation
                 Backpay Losses incl. Liquidated Damages        $59,544,552
                 Prejudgment Interest                               536,926
                 Total                                          $60,081,478

                 EPA Class, Non-Willful Violation
                 Backpay Losses incl. Liquidated Damages        $55,971,280
                 Prejudgment Interest                               421,799
                 Total                                          $56,393,079




 81.    The conclusions stated above were determined in accordance with generally accepted
 methodologies for employment disorientation damages and meet the test of reasonable

 economic certainty.


 Executed on this 4th day of February, 2020




 Finnie B. Cook, Ph.D., MSCC
 DEITER, STEPHENS, DURHAM & COOK




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